       Case 3:21-cv-09595-WHO Document 19 Filed 02/25/22 Page 1 of 3




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 7
                     IN THE UNITED STATES DISTRICT COURT
 8                FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9

10
      DISPLAY TECHNOLOGIES, LLC,
                                                    CASE NO.: 3:21-cv-09595-WHO
11                       Plaintiff,
                                                    PATENT CASE
12    v.
13
      A&D MEDICAL COMPANY,
14    LIMITED,
                                                    JOINT STIPULATION OF
15                       Defendant.                 DISMISSAL
16

17         Plaintiff Display Technologies, LLC, and Defendant A&D Medical Company,
18   Limited, by their respective undersigned counsel, hereby STIPULATE and AGREE as
19   follows:
20         1.     All claims asserted by the Plaintiff in this Action are dismissed with
21   prejudice and all counter-claims asserted by the Defendant in this Action are dismissed
22   without prejudice under Fed. R. Civ. P. 41(a)(1)(A)(ii);
23         2.     Each party shall bear its own costs and attorneys’ fees with respect to the
24   matters dismissed hereby;
25         This Stipulation and Order shall finally resolve the Action between the parties.
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                                  JOINT STIPULATION OF DISMISSAL
       Case 3:21-cv-09595-WHO Document 19 Filed 02/25/22 Page 2 of 3




 1   Dated: February 25, 2022             Respectfully submitted,
 2
                                          /s/Stephen M. Lobbin
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                                JOINT STIPULATION OF DISMISSAL
       Case 3:21-cv-09595-WHO Document 19 Filed 02/25/22 Page 3 of 3




 1
                              CERTIFICATE OF SERVICE

 2          I hereby certify that on February 25, 2022, I electronically transmitted the
 3
     foregoing document using the CM/ECF system for filing, which will transmit the
     document electronically to all registered participants as identified on the Notice of
 4   Electronic Filing, and paper copies have been served on those indicated as non-
 5   registered participants.
                                           /s/Stephen M. Lobbin
 6                                         Stephen M. Lobbin
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                                JOINT STIPULATION OF DISMISSAL
